                                  Case 2:10-cr-00722-SRC                                                                           Document 67                                    Filed 02/04/11                                     Page 1 of 1 PageID: 168
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